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TAB 3
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Carr-Hall, Colin

December 12, 2008

Chicago, IL

In re: PHARMACEUTICAL
INDUSTRY AVERAGE WHOLESALE
PRICE LITIGATION

THIS DOCUMENT RELATES TO:
United States of America,

ex rel. Ven-A-Care of the
Florida Keys, Inc., v.
Boehringer Ingelheim Corp.,
et al., Civil Action No.

07-10248-PBS

at 219 South Dearborn Street,

Illinois,
December 12, 2008,
RPR, CSR No. 084-003145.

UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

)

)

Videotaped Deposition of COLIN CARR-HALL,

commencing at 9:08 a.m. on Friday,

before Donna M. Kazaitis,

Chicago,

MDL NO. 1456
CIVIL ACTION

01-CV-12257-PBS

Judge Patti B. Saris

Magistrate Judge

Marianne B. Bowler

Henderson Legal Services, Inc.

202-220-4158

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Carr-Hall, Colin

December 12, 2008

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20 (Pages 74 to 77)
74 76
1 think it means different things to different 1 Do you know if Roxanol had an ANDA?
2 people. I can give you what I think it means. 2 A. I don't know that.
3 Q. Well, could you give me what it means 3 Q. To the best of your recollection,
4 at Roxane? 4  Roxanol was though something considered a branded
5 A. Yeah. 5 generic at Roxane; is that right?
6 Again, in my interpretation of a 6 A. Yes, I believe so.
7 — branded generic is that it could be either an 7 Q. What do you recall about Roxicodone?
8 older brand with generic competitors that it 8 A. I look at Roxicodone, you know, similar
9 competes with, it could be that because it's not 9 to Roxanol, that it's got that Roxane name, but I
10 ~— called "hydromorphone” and it's gotaname that 10 recall there weren't generic competitors.
1 it has some name recognition amongst a field with |11 Again, I'm not certain if there were
12 alot of generic competitors. 12 generic competitors for Roxicodone.
3 As far as the technical aspects as to 13 Q. And Hydromorphone was also considered a
4 how it becomes categorized as a branded generic, |14 branded generic at Roxane; is that right?
1S  Tcouldn't tell you. 15 A. I'm not aware that Hydromorphone was
i. 6 Q. Of the drugs we've talked about that 16 considered a branded generic at Roxane.
117 are at issue in this case and which were in your 17 Q. I thought you had testified --
8 product line, which of those were branded 18 A. Hydromorphone was more of a chemical
19 generics? 19 name.
20 A. I would say Roxanol, Roxicodone, were 20 Q. Oh, I'm sorry. Was there another name
21 products where they've got a Roxane brandname |21 for Hydromorphone at Roxane?
22 attached to them and they had recognition thatit 22 A. I don't know of one.
75 77
1 _was not just the generic entity but it hada 1 Q. Okay. That was in your product line;
2 brand name. 2 right?
3 Q. But under the FDA's classification of 3 A. I believe so. Hydromorphone was in our
4 generic drugs, would Hydromorphone, Roxanol, and | 4 product line.
5  Roxicodone be considered generic drugs? 5 Q. Okay. What did you call it when you
6 A. Icouldn't tell you that. I'm not 6 — sold it?
7 ~~ familiar with the actual classification. 7 A. I believe I called it Hydromorphone.
8 Q. Well, was Roxanol a drug that Roxane 8 Q. Do you think that was a branded
9 had developed as the first entrant in a market? 9 generic?
10 A. Roxanol was a drug that Roxane had 10 A. I think that I competed generically
11 developed. 11 with Hydromorphone.
12 Whether it was the first entrant or 12 I cannot recall that recognition that
13 were there other generics in the market prior to 13 you get with Roxanol and Roxicodone with
14 that, I don't know. 14 Hydromorphone.
15 Q. Was Roxanol a generic drug though? 15 Q. So the difference in your mind is that
16 A. Roxanol, again, my understanding, 16 Hydromorphone is the chemical name, it's not sort
17. Roxanol competed on price generically, but it did 17  ofaname that a marketing person might have come
128 have the recognition of the name Roxanol. I mean 18 up with?
19 that's my understanding. 19 A. Yeah. In my mind that's how I look at
20 Q. Well, you mentioned before in 20 it.
21 connection with generic drugs an ANDA, an 21 Q. What about Oramorph, was that a branded
22 abbreviated new drug application. 22 generic?

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